Case 1:25-cv-00004-MN Document1-3 Filed 01/02/25 Page 1 of 1 PagelD #: 16
JS44 (Rev. 09/19) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of. court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) ELAINAIEES Kerr, Inc. DEEEN PTS Lynne Caswell, Caswell Holding Co., Inc., and
156 High Street Harry Caswell, Inc.
Mullica Hill, NJ 08062 32645 Long Neck Road, Millsboro, DE, 19966
(b) County of Residence of First Listed Plaintiff Gloucester __ County of Residence of First Listed Defendant Sussex
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attormeys (/f Known)
Megan J. Davies, Esquire
Law Office of Megan J. Davies
716 N. Tatnall Street, Wilmington, DE 19801

II. BASIS OF JURISDICTION (Place an “x” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an "X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O01 US. Government 13° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 3 1 XX 1 Incorporated or Principal Place o4 04
of Business In This State
0 2 US. Goverment 4 Diversity Citizen of Another State 3 2 3 2 Incorporated and Principal Place Qs oO5
Defendant Undicate Citizenship of Parties in Item Hl) of Business In Another State
Citizen or Subject of a 33 3 3 Foreign Nation O06 O6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
l “CONTRACT _- TORTS FO) N. BANKRUPTCY OTHER STATUTES
© 110 {Insurance PERSONAL INJURY PERSONAL INJURY =|) 625 Drug Related Seizure © 422 Appeal 28 USC 158 © 375 False Claiins Act
O 120 Marine D 310 Airplane J 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal 0 376 Qui Tam (31 USC
© 130 Miller Act OB 315 Airplane Product Product Liability 3 690 Other 28 USC 157 372%a))
O 140 Negotiable Instrument Liability J 367 Health Care/ |) 400 State Reapportionment
O 150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS {OO 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights 3 430 Banks and Banking
© 151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent G 450 Commerce
O 152 Recovery of Defaulted Liability 7 368 Asbestos Personal OD 835 Patent - Abbreviated GF 460 Deportation
Student Loans © 340 Marine Injury Product New Dnig Applicati 3 470 Rack Influenced and
(Excludes Veterans) © 345 Marine Product Liability O 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR | _ SOCTAL SECURITY. 19 480c Credit
of Veteran's Benefits G6 350 Motor Vehicle 3 370 Other Fraud 3 710 Fair Labor Standards OD 861 HIA (1395ff) (15 USC 1681 or 1692)
OG 160 Stockholders’ Suits O 355 Motor Vehicle 3 371 Truth in Lending Act 0 862 Black Lung (923) 3 485 Telephone Consumer
(XK 190 Other Contract Product Liability 3 380 Other Personal 0 720 Labor/Management O 863 DIWC/DIWW (405(g)) Protection Act
O 195 Contact Product Liability | 0 360 Other Personal Property Damage Relations O 864 SSID Title XVI 3 490 Cable/Sat TV
O 196 Franchise Injury J 385 Property Damage 1 740 Railway Labor Act 0 865 RSI (405(g)) & 850 Securities/Commodities/
O 362 Personal Injury - Product Liability O 751 Family and Medical Exchange
Medical Malpractice Leave Act © 890 Other Statutory Actions
t REAL PROPERTY. __ CIVIL RIGHTS _- PRISONER PETITIONS _|0 790 Other Labor Litigation FEDERAL TAX SUITS 891 Agricultural Acts
© 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: 3 791 Employee Retirement O 870 Taxes (U.S. Plaintiff 3 893 Environmental Matters
G6 220 Foreclosure O 441 Voting 3 463 Alien Detainee Income Secwity Act or Defendant) © 895 Freedoin of Infonnation
O 230 Rent Lease & Ejectment O 442 Employment 3 510 Motions to Vacate O 871 IRS—Third Party Act
O 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 3 896 Arbitration
O 245 Tort Product Liability Accommodations J 530 General 0 899 Administrative Procedure
© 290 All Other Real Property | (J 445 Amer. w/Disabilities -] J 535 Death Penalty [IMMIGRATION __| Act/Review or Appeal of
Employment Other: 3 462 Natwalization Application Agency Decision
© 446 Amer. w/Disabilities -] J 540 Mandamus & Other {2 465 Other Imunigration 3 950 Constitutionality of
Other 3 550 Civil Rights Actions State Statutes
O 448 Education J 555 Prison Condition
3 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only)
m1 Original O12 Removed from O 3° Remanded from O 4 Reinstatedor © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do no1 cite jurisdictional statutes untess diversity):
VI 28 USC 1332
- CAUSE OF ACTION Brief description of cause:
Breach of Contract
VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 75,000.00 JURY DEMAND: O Yes No
VII. RELATED CASE(S)
IF ANY (See instructions):
JUDGE . ee oe ence ff DOCKET NUMBER __
DATE SIGNATURE OF ATTORNEY OF RECORD C -
01/02/2025 _{
FOR OFFICE USE ONLY - /

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

